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Case 2:14-cr-00023-CCC        Document 317    Filed 07/29/16   Page 1 of 1 PageID: 3437
                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

U.S. v. JAREZ BARON        Crim No.: 14-23 (JLL)

                                 PETITION  FOR
                       WRIT      OF  HABEAS  CORPUS

1. JAREZ BARON, DOB: 11/22/1987, SBI#65723050, is now confined at Bergen
County Jail.

2. JAREZ BARON, DOB: 11/22/1987, SBI#65723050 will be required at the United
States District Court in Newark, New Jersey for a plea hearing on Wednesday, August
3rd at 11:00am before Honorable Jose L. Linares U.S. District Judge, in the

above-captioned case. A Writ of Habeas Corpus should be issue for that purpose.

DATED:       July 28, 2016
             Newark, NJ

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                                                   Iist t U.S. %tomey
                                                   Ponr

                                       ORDER
Let the Writ Issue.                                     /
DATED:

                                               United States District Judge
                                               Newark, NJ

                        WRIT     OF    HABEAS           CORPUS

The United States of America to Warden of 3gen County Jail
WE COMMAND YOU that you have the body of

                      JAREZ BARON, DOB: 11/22/1987, SBI#65723050,

now confined at Bergen County Jail, brought to the United States District Court, in
Newark, New Jersey on Wednesday, August 3rd at 11:00am for a plea hearing before
Honorable Jose L. Linares

Immediately upon completion of the proceedings, the Detainee will be returned to said
place of confinement in safe and secure conduct.

      WITNESS the Honorable Jose L. Linares
      United States District Judge
      Newark, New Jersey

DATED:                 /1%              WILLIAM T. WALSH
                                        Clerk of the U.S. District Court



                                                          Deputy Clerk
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